           Case 1:16-cr-00173-DAD-BAM Document 47 Filed 03/29/17 Page 1 of 3


1    David V. Balakian, SBN 166749
     BALAKIAN LAW OFFICES
2
     2014 Tulare Street, Suite 210
3    Fresno, CA 93721
     Tel. (559) 495-1558
4    Fax. (559) 495-1004
5
     davidbalakian@sbcglobal.net

6    Attorney for Defendant, DANNY VALENZUELA
7

8                               UNITED STATES DISTRICT COURT
9
                              EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                    ) Case No.: 1:16 CR 00173 DAD BAM
12                                                )
                                                  ) ORDER AND STIPULATION
13                        Plaintiff,              ) MODIFYING CONDITIONS OF
                                                  ) RELEASE
14   vs.                                          )
                                                  )
15
     DANNY VALENZUELA,                            )
                                                  )
16                                                )
                          Defendant.
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19         THE PARTIES HEREBY STIPULATE AND AGREE that the conditions of release

20   shall be modified.
21
           1. Defendant Danny Valenzuela must participate in the substance abuse
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               treatment program at WestCare California, Inc., inpatient facility, and comply
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               with all the rules and regulations of the program. Defendant must remain at

25             the impatient facility until released by the Pretrial Services officer;
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     Case 1:16-cr-00173-DAD-BAM Document 47 Filed 03/29/17 Page 2 of 3


1       a. A responsible party, approved by Pretrial Services, must escort Defendant
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           to all required court hearings and escort defendant back to the inpatient
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           facility upon completion of the hearing;
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     2. Upon successful completion of the residential program Defendant must reside

6       at an address approved by Pretrial Services and Defendant must not change
7       residence or absent himself from this residence for more than 24 hours
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        without prior approval of the Pretrial Services officer;
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     3. Upon completion of the residential program, Defendant must participate in a
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11      program of medical or psychiatric treatment, including treatment for drug or

12      alcohol dependency, as approved by the Pretrial Services officer. Defendant
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        must pay all or part of the costs of the counseling services based upon his
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        ability to pay, as determined by the Pretrial Services officer.
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     4. All other previously ordered terms and conditions of release shall remain in
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17      full force and effect.

18   5. Pretrial Services consents to this modification.
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     Dated: March 27, 2017                     /s/ DAVID BALAKIAN
21                                             David Balakian,
22                                             Attorney for Defendant,
                                               DANNY VALENZUELA
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24
     Dated: March 27, 2017                     /s/ KIMBERLY SANCHEZ
25                                             Kimberly Sanchez,
                                               Assistant U.S. Attorney
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                                               Stipulation has been agreed to by
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                                               Ms. Sanchez.
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     Case 1:16-cr-00173-DAD-BAM Document 47 Filed 03/29/17 Page 3 of 3


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                                  ORDER
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     IT IS SO ORDERED.
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     Dated:      March 29, 2017            /s/ Barbara A. McAuliffe
8                                       UNITED STATES MAGISTRATE JUDGE

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